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                                     ORDERED.
  Dated: September 18, 2023




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION
                                  www.flmb.uscourts.gov

In re:                                                      Case No. 2:23-bk-00373-FMD
                                                            Chapter 11
H2O Investment Properties, LLC,

             Debtor.
_________________________________/

     ORDER (I) CONFIRMING FIRST AMENDED PLAN OF REORGANIZATION
        FOR SMALL BUSINESS UNDER CHAPTER 11, SUBCHAPTER V,
            AS FURTHER AMENDED AND MODIFIED HEREIN; AND
         (II) SETTING POST-CONFIRMATION STATUS CONFERENCE
                            (Related Doc. No. 90)
         THIS CASE came on for a continued hearing on August 28, 2023, at 1:30 pm EDT (the

“Hearing”) upon the First Amended Plan of Reorganization for Small Business Under Chapter

11, Subchapter V (Doc. No. 90) (the “Plan”) filed on August 11, 2023 by H2O Investment

Properties, LLC, the above-captioned debtor and debtor in possession (“Debtor”). The Court has

reviewed the evidence presented and the record of this case, including the Confirmation

Affirmation of Ronald Sapp (Doc. No. 98) (“Confirmation Affirmation”). Having considered the

evidence presented, the arguments of counsel, and being otherwise fully advised in the premises,

after notice and a hearing, the Court finds and concludes as follows:
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                    FINDINGS OF FACTS & CONCLUSIONS OF LAW

       A.      Jurisdiction. The Court has jurisdiction over this matter under 28 U.S.C. §§ 157

and 1334, the United States District Court’s general order of reference, and other various

applicable provisions of Title 11 of the United States Code (the “Bankruptcy Code”) and the

Federal Rules of Bankruptcy Procedure (“FRBP”).

       B.      Venue. Venue is proper before this Court under 28 U.S.C. §§ 1408 and 1409.

       C.      Notice. Due, adequate, and sufficient notice of the Plan and the order setting a

hearing on confirmation (Doc. No. 58) were served upon all creditors, interest holders, and

parties requesting notice. Accordingly, the method of service and solicitation of acceptance of

the Plan, notice of the hearing to consider confirmation of the Plan, and notices of all other

deadlines or requirements relating thereto (collectively, the “Confirmation Deadlines”) were in

compliance with the FRBP, were adequate and reasonable under the circumstances of this case,

and no further or additional notice of the confirmation hearing or the confirmation deadlines was

necessary or required.

       D.      Objections to Confirmation. Present at the Hearing were Michael R. Dal Lago,

Esq. for the Debtor, Melbalynn Fisher on behalf of BCMB1 Trust (“BCMB1”), Subchapter V

Trustee Michael Markham, and Benjamin Lambers on behalf of the United States Trustee. No

objections to the Plan were filed.1




1
 BCMB1 filed an Objection to Confirmation of Debtor’s Proposed Chapter 11 Plan (Doc. No.
89) (“Objection”) as to the Debtor’s Plan of Reorganization for Small Business Under Chapter
11, Subchapter V (Doc. No. 53) (“Original Plan”), and initially voted to reject the Original Plan.
However, BCMB1 voted to accept the Plan, and the Objection is moot.

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          E.      Ballots. The Plan and Confirmation Affirmation reflect that Classes 2, 4, 5, 6, 7,

8, 9, 13, 14, 16, and 17 are impaired. Classes 6, 7, 8, 9, 112, and 13 voted to accept the Plan,

whereas Classes 2, 4, 14, 16, and 17 failed to vote on the Plan. No Classes voted to reject the

Plan. A true and correct copy of the ballots cast is attached as Composite Exhibit “A”.

          F.      Proper Classification of Claims. The Plan adequately and properly identifies

and classifies all claims. Pursuant to Bankruptcy Code section 1122(a), the claims placed in each

class are substantially similar to other claims in each such class. Pursuant to Bankruptcy Code

section 1123(a)(1), valid legal and business reasons exist for the various classes of claims created

under the Plan and such classification does not unfairly discriminate among holders of claims.

The classification of claims in the Plan is reasonable.

          G.      Specified Unimpaired Classes. The Plan specifies all classes or claims or

interests that are not impaired under the plan.

          H.      Specified Treatment of Impaired Classes. The Plan specifies the treatment of

all classes of claims or interests that are impaired under the Plan.

          I.      No Discrimination. The Plan provides for the same treatment of claims or

interests in each respective class unless the holder of a particular claim or interest has agreed to a

less favorable treatment of such claim or interest.

          J.      Implementation of the Plan. Pages 2 and 3 of the Plan provide adequate means

for the Plan’s implementation.




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    Class 11 is unimpaired under the Plan, but cast a ballot accepting the Plan.

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        K.      Interests of the Creditors, Equity Security Holders, & Public Policy. The Plan

contains only provisions that are consistent with the interests of creditors and equity security

holders and with public policy with respect to the manner of selection of any officer, director, or

trustee under the Plan and any successor to such officer, director, or trustee.

        L.      Assumption & Rejection. Article 6 of the Plan, pursuant to Bankruptcy Code

section 365, provides for the assumption, rejection, or assignment of any executory contract or

unexpired lease of the Debtor not previously rejected under such section.

        M.      Additional Plan Provisions. Each of the provisions of the Plan is appropriate and

not inconsistent with the applicable provisions of the Bankruptcy Code.

        N.      Principal Purpose of the Plan. The principal purpose of the plan is not the

avoidance of taxes or the avoidance of the application of section 5 of the Securities Act of 1933.

        O.      Subchapter V Plan Requirements. The Plan complies with Bankruptcy Code

section 1189 because it was filed by the Debtor not later than 90 days after the order for relief

under Chapter 11, or the Court extended the period because the need for the extension was

attributable to circumstances for which the Debtor should not justly be held accountable.

        P.      Contents of a Subchapter V Plan. In compliance with Bankruptcy Code section

1190, the Plan includes: (1) a brief history of the business operations of the debtor, (2) a

liquidation analysis, and (3) projections with respect to the ability of the Debtor to make

payments under the proposed plan for reorganization. The Plan provides for either (i) a surrender

of the Debtor’s real property to its secured creditors, (ii) a sale of the West Linn Property, with

the proceeds of sale being utilized to pay the West Linn Creditors3 in full, or in a reduced amount



3 The West Linn Creditors consist of the following creditors in order of lien priority: 1. Citadel

Servicing Corp., 2. Umpqua Bank, 3. Loan Processing Servicing Corp., 4. Ms. Jennifer Sirrine, and 5.
Oregon State Credit Union.


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agreed to by the West Linn Creditors, or (iii) or refinancing of the debt secured by the

Wilsonville Property with the proceeds of the refinancing being utilized to pay the Wilsonville

Creditors4 in full, or in a reduced amount as agreed to by the Wilsonville Creditors. The future

earnings, or other future income, of the Debtor is no relevant under the Plan.

        Q.      Satisfaction of Conditions. The Court finds that, notwithstanding Bankruptcy

Code section 510(a), the Plan (1) satisfies the applicable requirements of Bankruptcy Code

section 1129(a), and (2) does not discriminate unfairly, and is fair and equitable, with respect to

each class of claims or interests that is impaired under, and has not accepted, the Plan. As a

result, the Plan is confirmed under Bankruptcy Code section 1191(b). With respect to the

applicable provisions of Bankruptcy Code section 1129(a), the Court finds and concludes as

follows:

                1.      The Plan complies with the applicable provisions of the Bankruptcy Code.

                2.      The Plan was proposed in good faith and not by any means forbidden by

        law.

                3.      Any payment made or to be made by the Debtor, for services or for costs

        and expenses in or in connection with the case, or in connection with the Plan and

        incident to the case, has been approved by, or is subject to the approval of, the Court as

        reasonable.

                4.      The Plan has disclosed the identity and affiliations of any individual

        proposed to serve, after confirmation of the plan, as a director, officer, or voting trustee

        of the Debtor; and the appointment to, or continuance in, such office of such individual,


4 The Wilsonville Creditors consist of the following creditors in order of lien priority: 1. Shell Point

Mortgage Services, 2. Planet Home Lending (BCMB1), 3. Arbor Village Homeowners Association, 4.
City of Oregon City, 5. Deem Realty Funding, Inc., 6. DJ Property Solutions, Inc., and 7. Xianghua
“Ed” Pan and Gretchen Pan.


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is consistent with the interests of creditors and equity security holders, and with public

policy; and the Plan proponent has disclosed the identity of any insider that will be

employed or retained by the reorganized debtor, and the nature of any compensation for

such insider.

          5.    The Plan provides that, with respect to each impaired class of claims or

interests, each holder of a claim or interest of such class has accepted the plan, or will

receive or retain under the plan on account of such claim or interest, property of a value,

as of the effective date of the plan, that is not less than the amount that such holder would

so receive or retain if the debtor were liquidated under chapter 7 of this title on such date,

or each holder of a claim of such class will receive or retain under the plan, on account of

such claim, property of a value, as of the effective date of the plan, that is not less than

the value of such holder’s interest in the estate’s interest in the property that secures such

claims in compliance with Bankruptcy Code section 1111(b)(2).

          6.    Except to the extent that the holder of such claim agrees to a different

treatment of such claim, the Plan provides that the sole tax claim entitled to priority under

Section 507(a)(8) of the Bankruptcy Code—held by the Clackamas County Tax

Collector—will be paid in full upon sale or refinancing of the property upon which it was

levied.

          7.    Confirmation of the Plan is not likely to be followed by the liquidation, or

the need for further financial reorganization, of the debtor or any successor to the debtor

under the Plan, unless such liquidation or reorganization is proposed in the Plan.




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               8.     All fees payable under 28 U.S.C. § 1930, as determined by the Court at the

       hearing on confirmation of the plan, have been paid or the plan provides for the payment

       of all such fees on the effective date of the Plan.

               9.     All transfers of property under the Plan shall be made in accordance with

       any applicable provisions of nonbankruptcy law that govern the transfer of property by a

       corporation or trust that is not a moneyed, business, or commercial corporation or trust.

       R.      Requirements for Secured Claims. With respect to the secured claims in Classes

1 through 15, Bankruptcy Code section 1111(b)(1(A)(ii) applies, and the Plan meets the

requirements of Bankruptcy Code section 1129(b)(2)(A).

               1.     Classes 1 through 15 arise from non-recourse obligations, and the Plan

       provides for the disposition of the collateral securing such obligations.

               2.     As of the Effective Date of the Plan –

                      a.      The Plan provides that all of the projected disposable income of

               the Debtor to be received in the 3-year period beginning on the date that the first

               payment is due under the Plan will be applied to make payments under the Plan;

               or

                      b.      The value of property to be distributed under the Plan in the 3-year

               period beginning on the date on which the first distribution is due under the plan

               is not less than the projected disposable income of the debtor.

                      c.      The Court finds that the Debtor has provided appropriate

               projections which provide for the Debtor’s “disposable income” under the Plan

               defined as the income that is received by the Debtor and that is not reasonably




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                necessary to be expended for the payment of expenditures necessary for the

                continuation, preservation, or operation of the business of the Debtor.

                3.        The Debtor will be able to make all payments under the Plan, or there is a

        reasonable likelihood that the Debtor will be able to make all payments under the Plan,

        and the Plan provides appropriate remedies, which may include the liquidation of

        nonexempt assets, to protect the holder of claims or interests in the event that the

        payments are not made.

        S.      Post-Confirmation Status Conference. A post-confirmation status conference

should be set for September 21, 2023 at 9:30 a.m. EDT.

        Accordingly, it is

        ORDERED:

        1.      Confirmation. The Plan is confirmed under Bankruptcy Code section 1191(b).

        2.      Binding Effect of Plan. Pursuant to Bankruptcy Code section 1141(a), except as

provided in Bankruptcy Code sections 1141(d)(2) and (3), the provisions of the Plan as of the

Effective Date bind the debtor and any creditor, whether or not the claim or interest of such

creditor is impaired under the plan, and whether or not such creditor has accepted the Plan.

        3.      Re-vesting of Property. Under Bankruptcy Code section 1141(b), except as

otherwise provided in the Plan or in this Confirmation Order, as of the Effective Date, all of the

property of the estate remains in the estate. Except as provided in Bankruptcy Code sections

1141(d)(2) and (3) and except as otherwise provided in the Plan or in this Order, after

confirmation of the Plan, the property dealt with by the Plan is free and clear of all claims and

interests of creditors.




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       4.      Post-Confirmation Operation of Business. Except as otherwise provided in the

Plan or in this Confirmation Order, on and after the Effective Date, the Debtor may operate its

business and may use, acquire, and dispose of property free of any restrictions of the Bankruptcy

Code and FRBP and in all respects as if there were no pending case under any chapter or

provisions of the Bankruptcy Code. The Debtor is entitled to retain and compensate professionals

without the necessity of further approval of this Court. Except as set forth in the Plan concerning

objections to claims, the Debtor may also settle or compromise any claims without Court

approval.

       5.      Non-Recourse. Classes 1 through 15 shall not have recourse against the Debtor

on account of their claims. Instead, the Debtor will either pay such claims in full or will

surrender the property to the benefit of the holders of claims in Classes 1 through 15. As

provided for in the Plan, in the event that either the the Wilsonville Property or the West Linn

Property is deemed surrendered, the Creditors holding secured claims against such property will

not have any in personam recourse against the Debtor or the estate on account of their claims and

the automatic stay shall be deemed modified in favor of such creditors.

       6.      Proceeds of Sale and Refinance. The Plan contemplates the sale or surrender of

909 SW Schaeffer Road, West Linn, OR 97068 (the “West Linn Property”) and refinancing or

surrender of 30620 SW Rose Lane, Wilsonville, OR 97070 (the “Wilsonville Property”). To the

extent such sale and refinancing occur, the proceeds of sale and refinancing shall be in the order

and amounts set forth on Exhibit “B”.

       7.      West Linn Adequate Protection Payments.

       Citadel Servicing Corp.: The Debtor shall continue making adequate protection payments

in the amount of $9,507.26 to UMB Bank, National Association, not in its individual capacity




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but solely as legal title trustee of LVS Title Trust XIV5 (“Citadel Servicing Corp.”), pursuant to

the Agreed Order Denying Amended Motion for Relief from Automatic Stay (Doc. No. 60).

Such payments shall continue on a monthly basis until such time as either Citadel Servicing Corp

is paid in full in an amount that is agreed to by the parties, or the West Linn Property is sold,

abandoned, or surrendered.

          Umpqua Bank.: The Debtor has agreed to make monthly adequate proptection payments

to Umpqua Bank in the form of interest only payments at 9% on the principal balance of

$100,000. The Debtor shall begin making these adequate protection payments within 14 days of

the Effective Date and shall continue making the adequate protection payments on a monthly

basis until such time as either Umpqua Bank is paid in full in an amount that is agreed to by the

parties, or the West Linn Property is sold, abandoned, or surrendered.

          All Other West Linn Creditors: Upon receipt of a written request from Ms. Jennifer

Sirrine (“Ms. Sirrine”), Oregon State Credit Union (“OSCU”), or Loan Processing Servicing

Corp. (“LPSC” and collectively with Ms. Sirrine and OSCU, the “Remaining West Linn

Creditors”), the Debtor will make monthly adequate protection payments in an amount not to

exceed Three Percent (3%) interest on the principal balance of the secured debt, beginning on the

first day of each calendar month until such time as either the Remaining West Linn Creditors are

paid in full in an amount that is agreed to by the parties, or the West Linn Property is sold,

abandoned, or surrendered; the Debtor shall not be required to make adequate protection

payments to the Remaining West Linn Creditors unless a written request for such payments is




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    Identified in the Plan as Citadel Servicing Corp., and as holding a Class 3 Claim.

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received by the Debtor. Unrequested adequate protection payments shall not accrue as claims

against the Debtor.

       8.       Wilsonville Adequate Protection Payments.

       Citadel Servicing Corp.: The Debtor shall continue making adequate protection payments

in the amount of $1,485.44 to BCMB1, pursuant to the Agreed Order Granting BCMB1 Trust’s

Amended Motion for Prospective Relief from the Automatic Stay Pursuant to 11 U.S.C. §

362(D)(4)(A) [D.E. 52] Effective 60 Days from the Plan’s Effective Date and Granting Adequate

Protection (Doc. No. 101). Such payments shall continue on a monthly basis until such time as

either BCMB1 is paid in full in an amount that is agreed to by the parties, or the Wilsonville

Property is sold, abandoned, or surrendered.

       All Other Wilsonville Creditors: Upon receipt of a written request from Shell

PointMortgage Services (“Shell Point”), Arbor Village Homeowners Association (“Arbor”), City

of Oregon City (“Oregon City”), Deem Realty Funding, Inc. (“Deem”), DJ Property Solutions,

Inc. (“DJ”), and Xianghua “Ed” Pan and Gretchen Pan (collectively, the “Pans”, and together

with Shell Point, Arbor, Oregon City, Deem, and DJ, the “Remaining Wilsonville Creditors”),

the Debtor will make monthly adequate protection payments in an amount not to exceed Three

Percent (3%) interest on the principal balance of the secured debt, beginning on the first day of

each calendar month until such time as either the Remaining Wilsonville Creditors are paid in

full in an amount that is agreed to by the parties, or the Wilsonville Property is sold, abandoned,

or surrendered; the Debtor shall not be required to make adequate protection payments to the

Remaining Wilsonville Creditors unless a written request for such payments is received by the

Debtor. Unrequested adequate protection payments shall not accrue as claims against the

Debtor.


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        9.       Injunction and Discharge. The Debtor shall not receive a discharge.

        10.      Disbursing Agent. The Debtor shall make payments under the Plan.

        11.      United States Trustee Guidelines. The Debtor must comply with the guidelines

set forth by the Office of the United States Trustee until the closing of this case by the issuance

of a Final Decree by the Bankruptcy Court.

        12.      Effect of Confirmation Order on Plan. The failure to reference or address all or

part of any particular provision of the Plan herein has no effect on the validity, binding effect, or

enforceability of such provision and such provision has the same validity, binding effect, and

enforceability as every other provision of the Plan. To the extent that any inconsistencies exist

between the terms of the Plan and this Confirmation Order, the terms of this Confirmation Order

shall control.

        13.      Executory Contracts and Leases. Except as otherwise provided in a separate

order of the Court, all executory contracts and unexpired leases not otherwise assumed are

deemed rejected as of the Effective Date.

        14.      Final Fee Applications. To the extent any professionals, including but not

limited to Dal Lago Law and the Subchapter V Trustee, seek an award of compensation for

services rendered or reimbursement of expenses incurred through and including the date of the

Confirmation Hearing, such professional shall file its respective application for allowance of

compensation for services rendered and reimbursement of expenses incurred by the date that is

twenty-one (21) days from the date of entry of this Order.

        15.      Service of Confirmation Order. Michael R. Dal Lago, Esq. is directed to serve a

copy of this Order on all parties and file a certificate of service within five (5) days of the entry

of this Order.




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       16.     Documents Required to Effectuate Plan. The Debtor is authorized to execute

any and all documents reasonably required to effectuate the provisions of the Plan or prior

Orders of this Court.

       17.     Modification After Confirmation. Under Bankruptcy Code section 1193(c), the

Debtor may modify the Plan at any time within 3 years, but may not modify the Plan so that the

Plan as modified fails to meet the requirements of Bankruptcy Code section 1191(b). The Plan as

modified becomes the Plan only if circumstances warrant such modification and the Court, after

notice and a hearing, confirms such plan, as modified, under Bankruptcy Code section 1191(b).

       18.     Discharge of the Subchapter V Trustee. Except as provided in the Plan or this

Confirmation Order, the Debtor shall make payments to creditors under the Plan and the

Subchapter V Trustee shall not be discharged until such payments have been made. Prior to the

discharge of the Subchapter V Trustee, the Subchapter V Trustee shall comply with Bankruptcy

Code section 1194 and distribute any applicable payments in accordance with the Plan.

       19.     Jurisdiction. The Bankruptcy Court retains jurisdiction to:

               a.       Resolve issues with respect to the Debtor’s substantial consummation of
                        the Plan and to the extent the Debtor seeks to amend or modify the Plan;

               b.       Resolve any motions, adversary proceedings, or contested matters, that are
                        pending as of the date of substantial consummation;

               c.       Adjudicate objections to claims;

               d.       Resolve disputes with respect to any and all injunctions created as a result
                        of confirmation of the Plan;

               e.       Adjudicate modifications of the plan under Bankruptcy Code section
                        1193;

               f.       Review and consider issues associated with the Debtor’s final report and
                        entry of final decree, and to enter a final decree; and




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                 g.     Enter such orders as the Court deems necessary or appropriate with
                        respect to enforcement of the Plan, including enforcement against the
                        Guarantor (as defined below).

       20.       Pursuant to the Affidavit of Ronald Sapp (“Guarantor”) attached to the Plan, the

Guarantor shall be personally obligated for all adequate protection payments, allowed

administrative costs and expenses, and allowed unsecured claims in this case. The Guarantor has

submitted to the jurisdiction of this Court and the Court has jurisdiction to enforce the Plan as to

the Guarantor.

       21.       The Debtor shall file a Notice of Effective Date upon the occurrence of the

Effective Date under the Plan.




Attorney Michael R. Dal Lago is directed to serve a copy of this order on interested parties who
do not receive service by CM/ECF and file a proof of service within three days of entry of the
order.




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    Composite
       Exhibit A
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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION
                                  www.flmb.uscourts.gov

In re:                                                       Case No. 2:23-bk-00373-FMD
                                                             Chapter 11
H2O Investment Properties, LLC,

             Debtor.
_________________________________/


               BALLOT FOR ACCEPTING OR REJECTING PLAN OF
           REORGANIZATION FOR H2O INVESTMENT PROPERTIES, LLC

   TO HAVE YOUR VOTE COUNT, YOU MUST COMPLETE AND RETURN THIS
             BALLOT BY THE DEADLINE INDICATED BELOW

On July 3, 2023, H2O Investment Properties, LLC, the above-captioned debtor (the “Debtor”)
filed the Debtor’s Plan of Reorganization in this case in accordance with chapter 11 of the United
States Bankruptcy Code (the “Plan of Reorganization”) [Doc No. 53]. By Order, dated July 11,
2023, the Bankruptcy Court entered its Order Scheduling (I) Hearing on Confirmation of Plan of
Reorganization, (II) Deadlines with Respect to Confirmation Hearing, and (III) Deadlines for
Filing Administrative Expense Applications [Doc No. 58]. The Plan of Reorganization provides
information to assist you in deciding how to vote your ballot.

The Plan of Reorganization referred to in this ballot can be confirmed by the Court and thereby
made binding on you if it is accepted by the holders of two-thirds in dollar amount and more than
half in number of the ballots cast in each class entitled to vote. In the event the requisite
acceptances are not obtained, the Court may nevertheless confirm the Plan of Reorganization if
the Court finds that the Plan of Reorganization accords fair and equitable treatment to the class(es)
rejecting it. Any and all capitalized terms used herein but not defined shall have the meaning
ascribed to them in the Plan of Reorganization.

You should review the Plan of Reorganization before you vote. You may wish to seek legal advice
concerning the Plan and your classification and treatment under the Plan. Your claim has been
placed in Class 11 under the Plan of Reorganization. If you hold claims and/or equities in
more than one class, you will receive a ballot for each class in which you are entitled to vote
and should submit a separate ballot for each class in which you are entitled to vote.
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Parties in interest shall submit to the Clerk’s office their written ballot accepting or rejecting
the Plan of Reorganization on or before August 9, 2023 (which is seven (7) days before the
date of the Confirmation Hearing scheduled for August 16th, 2023). To have your vote
counted, you must complete and submit a ballot using the Court’s CM/ECF system for those
users with a login and password. For those without a login and password, you may submit
your ballot through the Chapter 11 eBallots link on the Court’s website -
www.flmb.uscourts.gov - or by mailing a completed ballot to the Clerk at the address below.


       ACCEPTANCE OR REJECTION OF THE PLAN OF REORGANIZATION

This ballot is for creditor Loan Processing Services Corp.*, who holds a Class 11 Claim for the
following type of claim placed in the indicated class in the indicated amount:

                                          CLASS IN PLAN OF
TYPE OF CLAIM                                              AMOUNT OF CLAIM
                                          REORGANIZATION
                                                                   $207,810.16, plus $33.34 per
   Loan Processing Services Corp.                    11            diem from November 21,
                                                                   2022, until paid




*Note: Creditor improperly scheduled as "Loan Processing Servicing Corp." Creditor's name
is Loan Processing Services Corp. See Clackamas County Instrument 2020-013702
(Creditor's Deed of Trust).




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The undersigned, a Class 11 creditor of the above-named Debtor in the unpaid principal amount
of $207,810.16, plus $33.34 per diem from November 21, 2022, until paid:

[Check One Box Only]

X ACCEPTS                 REJECTS the Debtor’s Plan of Reorganization.

 Dated:                          08/25/2023

 Name of Creditor:             Loan Processing Services Corp

 Creditor’s Signature:

 By (if appropriate):            Cyrus Ahmadi

 As (if appropriate):          C.F.O. / Director

 Address:                     19528 Ventura Blvd. #502
                              Tarzana, CA 91356



All ballots must be received on or before August 9, 2023.

RETURN A COPY OF THIS BALLOT TO:

Michael R. Dal Lago
DAL LAGO LAW
999 Vanderbilt Beach Road
Suite 200
Naples, Florida 34108

Counsel for Debtor and Debtor-in-Possession,
H2O Investment Properties, LLC

******************************************************************************

MAIL TO:                                                     For Ballot Tabulation Only
                                                       ************************************
Clerk                                                  Ballot No.           Creditor Class
United States Bankruptcy Court
Sam M. Gibbons United States Courthouse                Claim No.            Claim $
801 North Florida Avenue
Tampa, Florida 33602                                   Claim Amount per Schedule $
                                                       *******************************************




                                                   3
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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION
                                  www.flmb.uscourts.gov

In re:                                                       Case No. 2:23-bk-00373-FMD
                                                             Chapter 11
H2O Investment Properties, LLC,

             Debtor.
_________________________________/


             AMENDED BALLOT FOR ACCEPTING AMENDED PLAN OF
         REORGANIZATION [D.E. 90] FOR H2O INVESTMENT PROPERTIES, LLC

    TO HAVE YOUR VOTE COUNT, YOU MUST COMPLETE AND RETURN THIS
              BALLOT BY THE DEADLINE INDICATED BELOW

On July 3, 2023, H2O Investment Properties, LLC, the above-captioned debtor (the “Debtor”)
filed the Debtor’s Plan of Reorganization in this case in accordance with chapter 11 of the United
States Bankruptcy Code (the “Plan of Reorganization”) [Doc No. 53]. By Order, dated July 11,
2023, the Bankruptcy Court entered its Order Scheduling (I) Hearing on Confirmation of Plan of
Reorganization, (II) Deadlines with Respect to Confirmation Hearing, and (III) Deadlines for
Filing Administrative Expense Applications [Doc No. 58]. The Plan of Reorganization provides
information to assist you in deciding how to vote your ballot.

The Plan of Reorganization referred to in this ballot can be confirmed by the Court and thereby
made binding on you if it is accepted by the holders of two-thirds in dollar amount and more than
half in number of the ballots cast in each class entitled to vote. In the event the requisite
acceptances are not obtained, the Court may nevertheless confirm the Plan of Reorganization if
the Court finds that the Plan of Reorganization accords fair and equitable treatment to the class(es)
rejecting it. Any and all capitalized terms used herein but not defined shall have the meaning
ascribed to them in the Plan of Reorganization.

You should review the Plan of Reorganization before you vote. You may wish to seek legal advice
concerning the Plan and your classification and treatment under the Plan. Your claim has been
placed in Class 13 under the Plan of Reorganization. If you hold claims and/or equities in
more than one class, you will receive a ballot for each class in which you are entitled to vote
and should submit a separate ballot for each class in which you are entitled to vote.


Parties in interest shall submit to the Clerk’s office their written ballot accepting or rejecting
the Plan of Reorganization on or before August 9, 2023 (which is seven (7) days before the
date of the Confirmation Hearing scheduled for August 16th, 2023). To have your vote
counted, you must complete and submit a ballot using the Court’s CM/ECF system for those
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users with a login and password. For those without a login and password, you may submit
your ballot through the Chapter 11 eBallots link on the Court’s website -
www.flmb.uscourts.gov - or by mailing a completed ballot to the Clerk at the address below.


       ACCEPTANCE OR REJECTION OF THE PLAN OF REORGANIZATION

This ballot is for creditors BCMB1, who hold a Class 13 Claim for the following type of claim
placed in the indicated class in the indicated amount:

                                        CLASS IN PLAN OF
 TYPE OF CLAIM                                           AMOUNT OF CLAIM
                                        REORGANIZATION
   Secured Claim
                                                 13            $402,987.00




                                             2
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The undersigned, a Class 17 creditor of the above-named Debtor in the unpaid principal amount
of $149,119.46:

[Check One Box Only]

X ACCEPTS                 REJECTS the Debtor’s Plan of Reorganization.

Dated:                          8/25/23

Name of Creditor:            BCMB1 Trust

Creditor’s Signature:        /s/ Melbalynn Fisher

By (if appropriate):

As (if appropriate):         Counsel for Creditor

Address:                     1031 North Miami Beach Blvd
                             North Miami Beach, FL 33162



All ballots must be received on or before August 9, 2023.

RETURN A COPY OF THIS BALLOT TO:

Michael R. Dal Lago
DAL LAGO LAW
999 Vanderbilt Beach Road
Suite 200
Naples, Florida 34108

Counsel for Debtor and Debtor-in-Possession,
H2O Investment Properties, LLC

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MAIL TO:                                                   For Ballot Tabulation Only
                                                     ************************************
Clerk                                                Ballot No.           Creditor Class
United States Bankruptcy Court
Sam M. Gibbons United States Courthouse              Claim No.            Claim $
801 North Florida Avenue
Tampa, Florida 33602                                 Claim Amount per Schedule $
                                              *******************************************
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                         EXHIBIT B
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                                        WEST LINN SALE PROCEEDS               Estimated
Class #        Priority      Creditor Name                                    Share of Sales  Notes
                                                                                              Filed Proof of Claim as UMB Bank,
                                                                                              National Association, not in its individual
                                                                                              capacity but solely as legal title trustee of
           3               1 Citadel Servicing Corp.                            $1,344,814.00 LVS Title Trust XIV
          15               2 Umpqua Bank                                          $122,000.00

          11               3 Loan Processing Servicing Corp.                      $197,594.29
          10               4 Ms. Jennifer Sirrine                                   $5,202.00
          12               5 Oregon State Credit Union                             $28,163.28
                                                                                              Brilliant Homes LLC is the sole General
                                                                                              Unsecured Creditor. Brilliant Homes will
                                                                                              (a) have an allowed Class 16 claim in the
                                                                                              amount of $350,000, and (b) receive a
                                                                                              distribution in the full amount of its claims
                                                                                              only if, (i) the West Linn Property is sold,
                                                                                              and (ii) all other creditors secured by the
                                                                                              West Linn Property receive payment in full
          16 N/A             General Unsecured Creditors                          $350,000.00 on their allowed claims.




                                       WILSONVILLE LOAN PROCEEDS              Estimated
Class #        Priority      Creditor Name                                    Share of Loan
          14               1 Shell Point Mortgage Services                      $1,051,600.00
          13               2 Planet Home Lending (BCMB1)                          $402,987.00
           2               3 Arbor Village Homeowners Association                  $13,236.11
           4               4 City of Oregon City                                   $14,601.00
           5               4 City of Oregon City                                   $72,026.00
           6               5 Deem Realty Funding, Inc.                             $20,710.08
           7               5 Deem Realty Funding, Inc.                             $49,424.96
           8               6 DJ Property Solutions, Inc.                           $69,899.96
           9               7 Xianghua “Ed” Pan and Gretchen Pan                      $6,305.00
